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FERRON THOIV|PSON,

P|aintiff,

No. 05-2368-D[An

vs. JURY DEMANDED

STATE FAR|\/l F|RE AND CASUALTY

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COl\/|PANY, }
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Defendant.

 

PROPOSED RULE 16(b) SCHEDUL|NG ORDER

 

The parties have conferred and submit the fci/o wing Proposed Scheduling Order
for the Court's consideration:

Pursuant to the scheduling conference set by written notice, the following dates
are established as the final dates for:
lNlT|AL D|SCLOSURES lRULE 26(a)(1)):
Al| parties: August 24, 2005
JO|N|NG PART|ES:

For P|aintiff: OCtober 10, 2005
For Defendant: November 10, 2005

AN|END|NG PLEADlNGS:

For P|aintiff: October 10, 2005
For Defendant: Novernber 10, 2005

This document entered en the docket sh t l

 

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COMPLET|NG ALL DlSCOVERY:

Al| parties: April 10, 2006
(a) REOUESTS FOR PRODUCT|ON, |NTERROGATOR|ES and REQUESTS FOH
ADN|ISS|ONS:
All parties: February 10, 2006

(bl EXPERT D|SCLOSURE (Rule 26(31(2)):

(i) Plaintiff's expert: February 10, 2006
(ii) Defendant's expert: lVlarch 10, 2006
(iiil Supplementation: l\/larch 20, 2006

(C) DEPOSIT|ON OF EXPERTS:

A|l parties: April 10, 2006, unless Court approves later date due to
special circumstances.

F|LlNG DlSPOS|TlVE |VlOT|ONS:
All parties: lVlay 10, 2006
F|NAL L|STS OF W|TNESSES AND EXH|B|TS (Rule 26(a}(3)l:

For Plaintiff: 45 days before trial
For Defendant: 30 days before trial

Parties shall have 10 days after service of final lists of Witnesses and exhibits to
file objections under Rule 26(a)l3l.

The trial in this matter is expected to last 3 days. The presiding judge Will set this
matter for JURY TR|AL. ln the event the parties are unable to agree on a joint pretrial
order, the parties must notify the court at least 10 days before trial.

OTHER RELEVANT NIATTERS:

lnterrogatories, Requests for Production and Requests for Admissions must be
submitted to the opposing party in sufficient time for the opposing party to respond by the
deadline for completion of discovery. For example, if the FRCP allow 30 days for a party
to respond, then the discovery must be submitted at least 30 days before the deadline for
completion of discovery.

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|Vlotions to compel discovery are to be filed and served by the discovery deadline
or within 30 days of the default or service of the responser answer, or objection which is
the subject of the motion if the default occurs within 30 days of the discovery deadline,
unless the time for filing of such motion is extended for good cause shown, or any
objection to the default, response, or answer shall be waived.

The parties are reminded that pursuant to Loca| Rule 7(al(1)lA) and lalll}(B), all
motions, except motions pursuant to FF-'lCP 12, 56, 59, and 60, shall be accompanied by
a proposed Order and a Certificate of Consultation.

The opposing party may file a response to any motion filed in this matter. Neither
party may file an additional rep|y, however, without leave of the court. lf a party believes
that a reply is necessary, it shall file a motion for leave to file a reply accompanied by a
memorandum setting forth the reasons for which a reply is required.

The parties have discussed trial before the Magistrate Judge and have decided not
to waive the case to the |Vlagistrate Judge, but to try the case before Judge Donald.

The parties are ordered to engage in court-annexed attorney mediation or private
mediation on or before the close of discovery.

This order has been entered after consultation with trial counsel pursuant to notice.
Absent good cause shown, the scheduling dates set by this Order will not be modified or
extended.

|T lS SO ORDERED.

fsc/zia 421

S. THOl\/|AS ANDERSON
United States l\/lagistrate Judge

Date: LIVW 03/ 200./

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APPROVED FOR ENTRV:

MM

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This notice confirms a copy of the document docketed as number 4 in
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August 4, 2005 to the parties listed.

 

 

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Honorable Berniee Donald
US DISTRICT COURT

